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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          GAINESVILLE DIVISION

ANTHONY WAYNE HARDIGREE,                  )
                                          )
             Plaintiff,                   )
                                          )        CIVIL ACTION NO.
v.                                        )
                                          )        2:17-cv-00236-RWS
STATHAM POLICE OFFICER                    )
MARC LOFTON, individually, CITY           )
OF STATHAM, STATE TROOPER                 )
GARRETT SMITH, individually, and          )
BARROW COUNTY SHERIFF’S                   )
DEPUTY GEIMAN, individually,              )
                                          )
             Defendants.                  )

               ANSWER OF CITY OF STATHAM, GEORGIA
                  TO FIRST AMENDED COMPLAINT

      Comes now the City of Statham, Georgia (“Statham”) and answers

plaintiff’s first amended complaint as follows:

                                FIRST DEFENSE

      For a first defense, this defendant shows that the first complaint fails to state

a claim against it upon which relief can be granted.

                               SECOND DEFENSE

      For a second defense, this defendant shows that the first amended complaint

is a shotgun complaint and should be dismissed.
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                                THIRD DEFENSE

      For a third defense, this defendant responds to the numbered paragraphs of

the first amended complaint as follows:

                                          1.

      In response to the allegations of paragraph 1, this defendant shows that it is

not required to respond to allegations which merely seek to characterize the claims

plaintiff is asserting against Statham and any other named defendants in the present

action. To the extent that a further response is required, this defendant expressly

denies that it breached any legal duty owed to plaintiff under federal or state law

and expressly denies that plaintiff has stated any viable claims against it, under the

Constitution and laws of the United States, the Constitution and laws of the State

of Georgia or otherwise.

                                          2.

      In response to the allegations of paragraph 2, this defendant shows that it is

not required to respond to allegations which merely seek to characterize the claims

plaintiff is asserting against Statham and any other named defendants in the present

action. To the extent that a further response is required, this defendant expressly

denies that it breached any legal duty owed to plaintiff under federal or state law

and expressly denies that plaintiff has stated any viable claims against it, under the

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Constitution and laws of the United States, the Constitution and laws of the State

of Georgia or otherwise.

                                          3.

      On information and belief, the allegations of paragraph 3 are admitted.

                                          4.

      On information and belief, the allegations of paragraph 4 are admitted.

                                          5.

      In response to the allegations of paragraph 5, this defendant admits only that

Marc Lofton was formerly employed by Statham as a law enforcement officer,

duly certified as such under the laws of the State of Georgia; that he was employed

by Statham on August 4, 2016; and that in connection with any interactions Lofton

may have had with plaintiff on said date, or thereafter, he was acting solely and

exclusively within his discretionary authority as a duly certified law enforcement

officer. Except as expressly admitted herein, the allegations of this paragraph are

denied as stated.

                                          6.

      In response to the allegations of paragraph 6, this defendant admits only that

Statham is a municipal corporation, organized and existing under the laws of the

State of Georgia, with all duties and powers inherent in its capacity as such.

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                                           7.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 7 and, therefore, this

defendant can neither admit nor deny the same.

                                           8.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 8 and, therefore, this

defendant can neither admit nor deny the same.

                                           9.

      In response to the allegations of paragraph 9, this defendant shows that

plaintiff’s generic use of the term “defendants,” without identifying what each

defendant is alleged to have done, in this paragraph and in paragraphs 11-18, 21-

23, 25, 27, 34-35, 38-39, 43-46, 47, 49, 51-52 and 61, constitutes what the 11th

Circuit has characterized as “shotgun” pleading authorizing this Court to dismiss

the entire complaint on said basis. In further response to this paragraph and in

responses below to the paragraphs referenced above, Statham initially shows that it

is a municipal corporation, not an individual and, therefore, did not enter the

residence where plaintiff allegedly resided, use any force with regard to plaintiff,

arrest him or commit any of the acts generically alleged in said paragraphs to have

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been committed by “defendants.” As such, the allegations of this paragraph and

the allegations in each of the paragraphs referenced above are denied as stated.

                                         10.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of this paragraph and, therefore,

this defendant can neither admit nor deny the same.

                                         11.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         12.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         13.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.




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                                          14.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                          15.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                          16.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                          17.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                          18.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

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above and denies the allegations of this paragraph as stated.

                                         19.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of this paragraph and, therefore,

this defendant can neither admit nor deny the same.

                                         20.

      In response to the allegations of paragraph 20, this defendant admits only

that Lofton had previously arrested Hardigree in September 2015 and that the

citations issued by Lofton to Hardigree at that time and Lofton’s incident report

will speak for themselves in this regard. Except as expressly admitted herein, the

allegations of this paragraph are denied as stated.

                                         21.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         22.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

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                                         23.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         24.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of this paragraph and, therefore,

can neither admit nor deny the same.

                                         25.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         26.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of this paragraph and, therefore,

can neither admit nor deny the same.

                                         27.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

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above and denies the allegations of this paragraph as stated.

                                         28.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of this paragraph and, therefore,

can neither admit nor deny the same.

                                         29.

      In response to the allegations of paragraph 29, this defendant shows that

video exists of the interactions between the officers who were present at the

residence where plaintiff alleges he was residing on August 4, 2016 and that said

video will speak for itself and provides the best evidence of any interactions and

communications that took place between plaintiff and any of said officers. Except

as expressly admitted herein, the allegations of this paragraph are denied as stated.

                                         30.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 29

above and shows that in addition to the available video, incident reports prepared

by Lofton and any of the other officers who were present at the residence where

plaintiff alleges he was residing on August 4, 2016 will speak for themselves in




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this regard. Except as expressly admitted herein, the allegations of this paragraph

are denied as stated.

                                          31.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its responses to paragraphs 9,

and 29 and 30 above. In further response, this defendant admits only that Lofton

appears to have used his Taser in response to plaintiff’s actions. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                         32.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of this paragraph and, therefore,

can neither admit nor deny the same.

                                         33.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of this paragraph and, therefore,

can neither admit nor deny the same.

                                         34.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

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above and denies the allegations of this paragraph as stated.

                                         35.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its responses to paragraph 9

above. In further response, this defendant admits only that plaintiff was arrested

and charged by Lofton with assault, obstruction of a law enforcement officer and

disorderly conduct and shows that the citations issued to plaintiff will speak for

themselves. Except as expressly admitted herein, the allegations of this paragraph

are denied as stated.

                                         36.

      The allegations of paragraph 36 are denied.

                                         37.

      In response to the allegations of paragraph 37, this defendant admits only

that the charges against Hardigree “were dismissed on or about January 10, 2017”

based on a discretionary decision by the solicitor who determined that “probable

cause existed but it would not be able to prove beyond a reasonable doubt.”

Except as expressly admitted herein, the allegations of this paragraph are denied as

stated.




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                                         38.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         39.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         40.

      The allegations of paragraph 40 are denied as stated.

                                         41.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         42.

      The allegations of paragraph 42 are denied.

                                         43.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

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above and denies the allegations of this paragraph as stated.

                                         44.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         45.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         46.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         47.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         48.

      The allegations of this paragraph are denied.

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                                         49.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         50.

      In response to the allegations of paragraph 50, this defendant shows that it is

not required to respond to those allegations which merely set forth plaintiff’s

interpretation of state or federal law. To the extent that a response is required, the

allegations of this paragraph are denied as stated.

                                         51.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         52.

      In response to the allegations of this paragraph, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         53.

      The allegations of paragraph 53 are denied.

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                                        54.

      The allegations of paragraph 54 are denied.

                                        55.

      The allegations of paragraph 55 are denied.

                                        56.

      In response to the allegations of paragraph 56, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its response to paragraph 35

above. Except as expressly admitted herein, the allegations of this paragraph are

denied as stated.

                                        57.

      The allegations of paragraph 57 are denied.

                                        58.

      The allegations of paragraph 58 are denied.

                                        59.

      The allegations of paragraph 59 are denied.

                                        60.

      The allegations of paragraph 60 are denied.

                                        61.

      In response to the allegations of this paragraph, this defendant re-alleges and

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incorporates by reference, as if fully set forth herein, its response to paragraph 9

above and denies the allegations of this paragraph as stated.

                                         62.

      The allegations of paragraph 62 are denied.

                                         63.

      The allegations of paragraph 63 are denied.

                                         64.

      The allegations of paragraph 64 are denied.

                                         65.

      In response to the allegations of paragraph 65, this defendant shows that it is

not required to respond to those allegations which merely provide plaintiff’s

interpretation of state or federal law. Except as expressly admitted herein, the

allegations of this paragraph are denied as stated.

                                         66.

      The allegations of paragraph 66 are denied.

                                         67.

      The allegations of paragraph 67 are denied.

                                         68.

      The allegations of paragraph 68 are denied.

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                                         69.

      The allegations of paragraph 69 are denied.

                                         70.

      The allegations of paragraph 70 are denied.

                                         71.

      The allegations of paragraph 71 are denied.

                                         72.

      In response to the allegations of paragraph 72, this defendant admits only

that it received a letter from plaintiff’s counsel dated July 6, 2017 which letter

discusses the subject matter addressed in plaintiff’s first amended complaint and

which letter will speak for itself regarding its contents. Except as expressly

admitted herein, the allegations of this paragraph are denied as stated.

                                         73.

      In response to the allegations of paragraph 73, this defendant re-alleges and

incorporates by reference, defendant’s response to paragraph 72 above. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                         74.

      In response to the allegations of paragraph 74, this defendant admits only

that, as of August 4, 2016, it was a party to a coverage agreement issued to it by

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the Georgia Interlocal Risk Management Agency and that the declarations pages

and terms and conditions of the subject coverage agreement will speak for

themselves regarding the liability coverages provided therein and the limits of said

coverages. Except as expressly admitted herein, the allegations of this paragraph

are denied as stated.

                                         75.

       In response to the allegations of paragraph 75, this defendant re-alleges and

incorporates by reference, defendant’s response to paragraph 74 above. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                         76.

       The allegations of paragraph 76 are denied.

                                         77.

       Any other allegations in the complaint which have not been expressly

admitted or otherwise addressed are hereby denied.

                               FOURTH DEFENSE

       For a fourth defense, Statham shows that it breached no legal duty owed to

plaintiff.

                                FIFTH DEFENSE

       For a fifth defense, Statham asserts the defense of sovereign immunity.

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                                 SIXTH DEFENSE

       For a sixth defense, Statham shows that no policy statement, regulation,

custom or practice of Statham was the moving force of any purported violation of

plaintiff’s federal rights.

                               SEVENTH DEFENSE

       For a seventh defense, Statham shows that there existed both actual and

arguable probable cause for any discretionary decisions made by Lofton with

regard to plaintiff’s detention, arrest, incarceration, prosecution and any force used

by Lofton to effectuate plaintiff’s arrest.

                                EIGHTH DEFENSE

       For an eighth defense, this defendant shows that the Fourteenth Amendment

to the Constitution of the United States has absolutely no application in the present

action and that there are no specific allegations in the complaint even alleging a

violation of the Fourteenth Amendment.

                                 NINTH DEFENSE

       For a ninth defense, this defendant shows that the Americans With

Disabilities Act has absolutely no application whatsoever in connection with the

present action and that there are no specific allegations in the complaint alleging

any violations of the Americans With Disabilities Act.

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                                 TENTH DEFENSE

      For a tenth defense, this defendant shows that the criminal prosecution of

Hardigree arising from the charges leveled against him by Lofton did not constitute

a seizure under the Fourth Amendment.

                              ELEVENTH DEFENSE

      For an eleventh defense, this defendant shows that because plaintiff’s

charges resulted in a prosecution, he has no viable claims to assert for false arrest

under federal or state law.

                               TWELFTH DEFENSE

      For a twelfth defense, Statham shows that it is entirely immune from any

claims for punitive damages.

                              THIRTEENTH DEFENSE

      For a thirteenth defense, Statham shows that any force used by Lofton to

lawfully arrest plaintiff was de minimus in nature and did not rise to the level

necessary to support a Fourth Amendment violation and was objectively

reasonable under the circumstances presented in any event.

      Wherefore, having fully answered, Statham prays that verdict and judgment

be entered in its favor, with all costs cast against plaintiff; that it have a trial by

jury with regard to all triable issues; and that it have such other and further relief as

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the Court deems just and proper in the circumstances.

      This 23rd day of January, 2018.


                                               /s/ Harvey S. Gray
                                               Harvey S. Gray
                                               Georgia Bar No. 305838
                                               Dianna J. Lee
                                               Georgia Bar No. 163391
                                               Attorneys for Defendant
                                               City of Statham, Georgia

GRAY, RUST, ST. AMAND, MOFFETT & BRIESKE, LLP
1700 Atlanta Plaza
950 East Paces Ferry Road
Atlanta, Georgia 30326
(404) 870-7376 (Gray)
(404) 870-5955 (Lee)
(404) 870-7374 (Fax)
hgray@grsmb.com
dlee@grsmb.com




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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          GAINESVILLE DIVISION

ANTHONY WAYNE HARDIGREE,                  )
                                          )
             Plaintiff,                   )
                                          )          CIVIL ACTION NO.
v.                                        )
                                          )          2:17-cv-00236-RWS
STATHAM POLICE OFFICER                    )
MARC LOFTON, individually, CITY           )
OF STATHAM, STATE TROOPER                 )
GARRETT SMITH, individually, and          )
BARROW COUNTY SHERIFF’S                   )
DEPUTY WOOD, individually,                )
                                          )
             Defendants.                  )

                           CERTIFICATE OF SERVICE

      I hereby certify that I have this date electronically filed the foregoing

Answer of City of Statham, Georgia to First Amended Complaint with the

Clerk of the Court using the CM/ECF system which will automatically send email

notification of such filing to the following attorneys of record:

      Zack Greenamyre                         Robert B. Shapiro
      Mitchell & Shapiro LLP                  Assistant Attorney General
      3490 Piedmont Road, Suite 650           State Law Department
      Atlanta, GA 30305                       40 Capitol Square, SW
                                              Atlanta, GA 30334




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     and by email to:

     James R. Westbury, Jr.              Phillip E. Friduss
     Westbury & Bennett, P.C.            Hall Booth Smith, P.C.
     1012 Memorial Drive, Suite 13       191 Peachtree Street, Suite 2900
     Griffin, GA 30223                   Atlanta, GA 30303

     This 23rd day of January, 2018.


                                              /s/ Harvey S. Gray
                                              Harvey S. Gray
                                              Georgia Bar No. 305838
                                              Dianna J. Lee
                                              Georgia Bar No. 163391
                                              Attorneys for Defendant
                                              City of Statham, Georgia

GRAY, RUST, ST. AMAND, MOFFETT & BRIESKE, LLP
1700 Atlanta Plaza
950 East Paces Ferry Road
Atlanta, Georgia 30326
(404) 870-7376 (Gray)
(404) 870-5955 (Lee)
(404) 870-7374 (Fax)
hgray@grsmb.com
dlee@grsmb.com




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